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                                                  IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE NORTHERN DISTRICT OF OHIO
                                                            EASTERN DIVISION

                           EILEEN TUTHILL,                     }                Civil Action 1:12-cv-1986
                                                               }
                                 Plaintiff,                    }                JUDGE: Patricia A. Gaughan
 /s/ Patricia A. Gaughan




                                                               }
                                 v.                            }
                                                               }
                           PORTFOLIO RECOVERY ASSOCIATES }
     10/31/12




                           LLC,                                }
So Ordered.




                                                               }
                                 Defendant.                    }
                           ____________________________________/

                                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

                                  Now comes Plaintiff, by and through undersigned counsel and hereby voluntary

                           dismisses her case, with prejudice, pursuant to Rule 41(a)(1)(A)(i).

                                                                        Respectfully Submitted,

                                                                        KAHN & ASSOCIATES, L.L.C.

                                                                              /s/ David W. Skall

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